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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
                                                              :                            3/19/20
  YOVANNY DOMINGUEZ,
                                                              :
                                                  Plaintiff,
                                                              :
                                                              :             19-CV-11931 (ALC)
                     -against-
                                                              :
                                                              :                 ORDER
   THE ISAMU NOGUCHI FOUNDATION,
                                                              :
   INC.,
                                                              :
                                                              :
                                              Defendants.
                                                              :
                                                              :
------------------------------------------------------------x

ANDREW L. CARTER, JR., United States District Judge:

         It having been reported to this Court that this case has been or will be settled, it is hereby

ORDERED that the above-captioned action is discontinued without costs and without prejudice

to restoring the action to this Court’s calendar if the application to restore the action is made

within thirty (30) days.

SO ORDERED.

Dated:           March 19, 2020
                 New York, New York

                                                                _______________________________
                                                                 HON. ANDREW L. CARTER, JR.
                                                                    United States District Judge




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